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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND
                                   Northern Division

 RON L. LACKS, PERSONAL
 REPRESENTATIVE OF THE ESTATE OF
 HENRIETTA LACKS,

                        PLAINTIFF,                          Case No. 1:21-cv-02524-DLB

        VS.

 THERMO FISHER SCIENTIFIC INC.,

                        DEFENDANT.



                      NOTICE OF SUPPLEMENTAL AUTHORITY
       Plaintiff Ron L. Lacks, Personal Representative of the Estate of Henreitta Lacks,

respectfully submits, as supplemental authority for the Court’s consideration in evaluating

Defendant Thermo Fisher Scientific Inc.’s motion to dismiss, the following recent opinions:

       1. Phreesia, Inc. v. Certify Global, Inc., Case No. DLB-21-678, 2022 WL 911207 (D.

           Md. March 29, 2022) (Exhibit A); and

       2. Park Plus, Inc. v. Palisades of Towson, LLC and Encore Development Corp., Case No.

           03-C-16-001349, 2022 WL 883679 (Maryland Ct. App. March 25, 2022) (Exhibit B).



 DATED: May 10, 2022                              /s/ Kim Parker
                                                  Kim Parker, Esquire
                                                  Federal Bar No.: 23894
                                                  LAW OFFICES OF KIM PARKER, P.A.
                                                  2123 Maryland Ave.
                                                  Baltimore, MD 21218
                                                  Telephone: 410-234-2621
                                                  Fax: 443-486-1691
                                                  kp@kimparkerlaw.com
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                               Christopher A. Seeger (admitted pro hac vice)
                               Jeffrey S. Grand (admitted pro hac vice)
                               Christopher L. Ayers (admitted pro hac vice)
                               Nigel P. Halliday (admitted pro hac vice)
                               Yasmine G. Meyer (admitted pro hac vice)
                               SEEGER WEISS LLP
                               55 Challenger Road, 6th Floor
                               Ridgefield Park, NJ 07660
                               Telephone: 212-584-0700
                               Fax: 212-584-0799
                               cseeger@seegerweiss.com
                               jgrand@seegerweiss.com
                               cayers@seegerweiss.com
                               nhalliday@seegerweiss.com
                               ymeyer@seegerweiss.com

                               Ben Crump (admitted pro hac vice)
                               Christopher O'Neal (admitted pro hac vice)
                               BEN CRUMP LAW, PLLC
                               717 D Street, N.W. Suite 310
                               Washington D.C. 20004
                               Telephone: 860.922.3030
                               ben@bencrump.com
                               chris@bencrump.com

                               ATTORNEYS FOR RON L. LACKS, PERSONAL
                               REPRESENTATIVE OF THE ESTATE OF
                               HENRIETTA LACKS
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                                     CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 10th day of May, 2022, the undersigned has served the

foregoing document upon all parties and counsel of record to this proceeding by electronically

filing same with the Clerk of Court using the ECF Filing Service which will send electronic

notification to counsel of record.

                                                  /s/ Kim Parker
                                                  ________________________
                                                  Kim Parker
